             Case 8:23-bk-10571-SC                   Doc 130 Filed 06/22/23 Entered 06/22/23 14:54:34                                       Desc
                                                      Main Document     Page 1 of 8



    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
    Email Address


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    Proposed Special Counsel to Richard A. Marshack,
    Chapter 11 Trustee



                                              UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

    In re:                                                                      CASE NO.: 8:23-bk-10571-SC

    THE LITIGATION PRACTICE GROUP P.C.,                                         CHAPTER: 11

                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE: (title of motion1):
                                                                                Trustee’s Notice of Motion and Emergency Motion (I) for
                                                                                Entry of Interim Order: (A) Authorizing The Trustee to
                                                                                Obtain Post-Petition Financing and Superpriority
                                                                  Debtor(s)     Administrative Expense Claim Pursuant to 11 U.S.C. § 364;
                                                                                and (B) Setting Final Hearing; and Pursuant to Final
                                                                                Hearing, (II) for Entry of Final Order Approving Post-
                                                                                Petition Financing on a Final Basis


PLEASE TAKE NOTE that the order titled Interim Order Granting Emergency Superpriority Financing by the Chapter 11
Trustee was lodged on (date) June 22, 2023 and is attached. This order relates to the motion which is docket number 119.




1
    Please abbreviate if title cannot fit into text field.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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Case 8:23-bk-10571-SC       Doc 130 Filed 06/22/23 Entered 06/22/23 14:54:34              Desc
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  8

  9
                               UNITED STATES BANKRUPTCY COURT
 10
                                CENTRAL DISTRICT OF CALIFORNIA
 11
                                         SANTA ANA DIVISION
 12

 13   In re:                                             Case No. 8:23-bk-10571-SC
 14   THE LITIGATION PRACTICE GROUP P.C.,                Chapter 11
 15            Debtor.                                   INTERIM ORDER GRANTING
                                                         EMERGENCY SUPERPRIORITY
 16                                                      FINANCING BY THE CHAPTER 11
                                                         TRUSTEE
 17
                                                      Date: June 20, 2023
 18                                                   Time: 3:00 p.m.
 19                                                   Judge: Hon. Scott C. Clarkson
                                                      Place: Courtroom 5C
 20                                                          411 West Fourth Street
                                                             Santa Ana, CA 92701
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 25            On June 20, 2023, on the 3:00 p.m. calendar, in Courtroom 5C of the United States

 26   Bankruptcy Court, located at 411 West Fourth Street, Santa Ana, California 92701, the Honorable

 27   Scott C. Clarkson, United States Bankruptcy Judge, conducted a hearing on the Trustee’s Notice of

 28   Motion and Emergency Motion (I) for Entry of Interim Order: (A) Authorizing The Trustee to Obtain


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  1   Post-Petition Financing and Superpriority Administrative Expense Claim Pursuant to 11 U.S.C. §

  2   364; and (B) Setting Final Hearing; and Pursuant to Final Hearing, (II) for Entry of Final Order

  3   Approving Post-Petition Financing on a Final Basis [Docket No. 119] (the “Motion”) filed on June

  4   16, 2023 by Richard A. Marshack, the Chapter 11 Trustee (the “Trustee”) for the bankruptcy estate

  5   (the “Estate”) of The Litigation Practice Group, P.C. (the “Debtor”), in the above-captioned

  6   bankruptcy case.

  7          The Court, having considered the Motion, all pleadings filed in support of, and in opposition

  8   to, the Motion, good cause appearing, and for the reasons stated on the record and in the Motion:

  9          1.        Grants the Motion;

 10          2.        Approves the terms of that certain Super-Priority Promissory Note (the "Note") as

 11   attached as Exhibit 2 to the Trustee’s Declaration;

 12          3.        Authorizes the Trustee to borrow, and the Lender (as defined in the Motion) to

 13   advance up to $800,000 in the aggregate, including an initial advance in the amount of $350,000

 14   and a subsequent advance of up to $450,000, at an interest rate of 8% per annum, with the full

 15   balance, including all accrued interest, due and payable in one year from the Start Date (as defined

 16   in the Note), with payments first credited to interest due and any remainder credited to principal, as

 17   provided under the Note, subject to the terms of this Order;

 18          4.        Authorizes the Trustee to execute and deliver to the Lender the Note and all other

 19   loan documents required to be executed and delivered under the Note;

 20          5.        Authorizes the Trustee and counsel acting on behalf of the Trustee to take any such

 21   actions that may be necessary to implement the Note and borrow funds under the Note as approved

 22   in this Order;

 23          6.        Finds that the Trustee, on behalf of the Debtor and the Estate, is unable to find

 24   sufficient financing from sources other than the Lender on terms more favorable than the terms for

 25   the Note;

 26          7.        Finds that immediate financing is critical for the Debtor to continue its operations in

 27   the ordinary course, and that the Note, the Trustee’s entry into the financing arrangement, and

 28   related relief is necessary to avoid immediate and irreparable harm to the Debtor’s Estate, its

                                                          2

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  1   employees, and all parties in interest; and that the Note is the best source of financing available to

  2   the Debtor under the circumstances and was entered into in good faith and at arm’s length;

  3          8.      Find that the terms of the Note and this Order are fair and reasonable and are

  4   supported by reasonably equivalent value and fair consideration;

  5          9.      Finds that the Trustee’s agreement to the terms of the Note on behalf of the Debtor

  6   is a sound exercise of business judgment and should be approved as set forth herein;

  7          10.     Authorizes the Trustee to enter into any non-material amendment or modification to

  8   the Note, including but not limited to agreeing on the amount of the subsequent advance up to

  9   $450,000, without further order of this Court, provided that any such non-material amendment or

 10   modification is set forth in writing and signed by the Trustee and the Lender, and provided that the

 11   Trustee provides notice of any such amendment or modification to the Court and the Office of the

 12   United States Trustee;

 13          11.     Authorizes the Trustee to use funds advanced under the Note on the terms and

 14   conditions set forth herein, provided that all such funds are used to pay payroll and other operating

 15   expenses solely;

 16          12.     Grants the Lender an allowed superpriority administrative claim pursuant to section

 17   364(c)(1) of the Bankruptcy Code, having priority in right of payment over any and all other

 18   administrative expenses or priority claims;

 19          13.     Subrogates the Lender’s claim, on account of funding payroll, to the administrative

 20   expense claims otherwise held by employees that have provided post-petition services since the

 21   Trustee has served the Court’s TRO and taken control of operations;

 22          14.     Requires the approval and authorization of the Trustee for paying any and all

 23   expenses; or, in the event the Trustee is unavailable, requires the approval and authorization from

 24   Lori Ensley or one of the Trustee’s law firm partners, Ed Hays, David Wood, or Laila Masud, for

 25   paying any and all expenses;

 26          15.     Directs that all ordinary business expenses approved by the Trustee shall be paid for

 27   by a trustee check;

 28          16.     Finds that the Note and this Order were negotiated in good faith and at arm’s length

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  1   among the Trustee and the Lender;

  2          17.     Finds that the financing provided under the Note shall be deemed to have been

  3   extended in good faith and for valid business purposes and uses within the meaning of section 364(e)

  4   of the Bankruptcy Code;

  5          18.     Finds that there is no stay of this Order, including no stay pursuant to Rule 6004(h)

  6   of the Federal Rules of Bankruptcy Procedure (to the extent applicable);

  7          19.     Sets a final hearing on the Motion for July 20, 2023 at 11:00 a.m.; and

  8          20.     Retains jurisdiction with the Court with respect to all matters arising from or related

  9   to the implementation of this Order.

 10          IT IS SO ORDERED.

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 22, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 22, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 22, 2023                 Katrice Ortiz                                                   /s/ Katrice Ortiz
 Date                          Printed Name                                                    Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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                                1                             In re The Litigation Practice Group, P.C.
                                                          U.S.B.C., Central District of California, Santa Ana
                                2                                      Case No. 8:23-bk-105701-SC

                                3   I.       SERVED ELECTRONICALLY VIA NEF:

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                                            Andrew Still astill@swlaw.com, kcollins@swlaw.com
                               25           United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                            Sharon Z. Weiss sharon.weiss@bclplaw.com,
                               26            raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
                                            Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com
                               27

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                                1   II.    SERVED VIA REGULAR U.S. MAIL:

                                2          N/A

                                3   III.   SERVED VIA OVERNIGHT (FED EX):

                                4          United States Bankruptcy Court:
                                           Honorable Scott Clarkson
                                5          United States Bankruptcy Court
                                           Central District of California
                                6          Ronald Reagan Federal Building and Courthouse
                                           411 West Fourth Street, Suite 5130 / Courtroom 5C
                                7          Santa Ana, CA 92701

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                               11
Phoenix, Arizona 85004-2555




                               12
  1 East Washington Street
     Ballard Spahr LLP




                               13
         Suite 2300




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